Case: 6:17-cr-00053-GFVT-HAI Doc #: 49 Filed: 08/30/18 Page: 1 of 2 - Page ID#: 189




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                  (at London)

 CASE NO. 17-CR-00053-GFVT                                 ELECTRONICALLY FILED

 UNITED STATES OF AMERICA,                                          PLAINTIFF,



 VS.            MOTION TO PERMIT DEFENDANT TO TRAVEL
              OUTSIDE OF THE EASTERN DISTRICT OF KENTUCKY



 WERNER GRENTZ,                                                     DEFENDANT.

                                           ** ** **


       Comes now the Defendant, Werner Grentz, by counsel, and moves the Court to

 permit him to travel from his home in London, Kentucky, to Niles, Michigan, on August

 31, 2018, leaving at approximately 6:00 a.m., and returning to his home at approximately

 10:00 p.m., on September 2, 2018, to attend his aunt’s funeral at the Seventh Day

 Adventist Church in Holland, Michigan on September 1, 2018. The Defendant proposes

 to stay at the home of his sister and brother-in-law, Christine and Floyd “Bud” Robbins,

 at 2519 Juniper, Niles, Michigan 49120.

       WHEREFORE, an Order in conformity herewith is respectfully requested.
Case: 6:17-cr-00053-GFVT-HAI Doc #: 49 Filed: 08/30/18 Page: 2 of 2 - Page ID#: 190




                                              Respectfully Submitted,

                                              s/David S. Hoskins
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                                              WERNER GRENTZ

                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 30th day of August, 2018, the foregoing was

 filed electronically with the Clerk of the Court by using CM/ECF System which will send

 notice of filing to all counsel of record.

                                                    s/David S. Hoskins
                                                    COUNSEL FOR DEFENDANT
                                                    WERNER GRENTZ
